       Case 1:04-cr-00564-CCB           Document 198           Filed 04/24/15          Page 1 of 1

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     CHAMBERS OF                                                                       U.S. COURTHOUSE
  CATHERINE C. BLAKE                               ,n\e !PR 24 PH 3: Oll 101 WEST LOMBARD STREET
      CHIEF JUDGE                                  eLI ,) f\                      BALTIMORE,   MARYLAND      21201
                                                                 "". F~\CE                (410) 962-3220
                                                          CLEf{h .:> O"'nrR"            Fax (410) 962-6836
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John Long
Reg. No. 320878-1908542
Eastern Correctional Institution
30420 Revells Neck Road
Westover, MD 21890

       Re:     USA v. John Long, Criminal No. CCB-04-0564

Dear Mr. Long:

         I am writing in response to your letter dated March 20, 2015 and the copy received April
20,2015. I have reviewed your file, and it appears from the presentence report that you were
serving a state sentence on other charges beginning in 2004. Because you were receiving credit
for that incarceration against your state sentence, it did not count against your federal sentence.
When you were sentenced on October 23,2006, I directed that the federal sentence be concurrent
with any other sentence, so your federal sentence of 160 months (which was reduced to 144
months on October 21,2009 because of the crack cocaine guideline reduction) began to run that
day.

       If you or your attorney have any different documentation, you can let me know, althougli
sentence calculation initially is up to the DOC and the Bureau of Prisons.

                                                        Sincerely,




                                                        Catherine C. Blake
                                                        United States District Judge

cc:    Marc Zayon, Esquire
       AUSA Barbara Sale
       US PO Blair Wise
